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2008R1421/RCV

                                               UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                 :     Criminal No.09-cr-086
                                         :
                v.                       :     21 U.S.C. ' 846
                                         :     21 U.S.C. '' 841(a)(1) and
DURRELL SMITH,                           :     (b)(1)(C)
  a/k/a ARel@                            :     18 U.S.C. ' 2
ALEX LOPEZ,                              :
  a/k/a ACock-n-Squeeze,@                :
  a/k/a ACuba@                           :
WALEED WHEELER,                          :
  a/k/a AWalik@                          :
ANTONIO R. ORTIZ,                        :
  a/k/a ABlue@                           :
TERRANCE MILLS,                          :
  a/k/a ATaddow@ and                     :
MICHAEL C. DANIELS                       :     UNSEALING ORDER



      This matter having come before the Court on the application of the United States

of America (Rodney Villazor, Assistant U.S. Attorney, appearing) for an order that the

Indictment returned in the above-captioned matter be unsealed as to defendant Michael

C. Daniels; and for good cause shown,

      IT IS ON this 27th day of February, 2009,

      ORDERED that the Indictment filed in the above-captioned matter is unsealed.

                                               /s/ Katharine S. Hayden


                                               HON. KATHARINE S. HAYDEN
                                               UNITED STATES DISTRICT JUDGE
